         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                         CRIMINAL NO. 1:04CR24-5


UNITED STATES OF AMERICA )
                          )
                          )
         VS.              )                   ORDER
                          )
                          )
JOSE JACOBO TOPETE        )
                        )


     THIS MATTER is before the Court on the government's motion to

reduce Defendant's sentence pursuant to Rule 35(b) of the Federal Rules

of Criminal Procedure.

     For the reasons stated therein,

     IT IS, THEREFORE, ORDERED that the government's motion is

ALLOWED, and the Defendant's sentence is hereby reduced from a term

of 63 months imprisonment to a term of 41 months imprisonment, with all

other terms and conditions of the Judgment of Conviction to remain in full

force and effect. The Clerk of Court shall prepare an amended Judgment

in accordance with the terms herein.




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     The Clerk is directed to transmit copies of this Order electronically to

the United States Attorney, defense counsel, and to the Warden of the

federal correctional facility where the Defendant is currently imprisoned,

and by mail to the Defendant.


                                      Signed: April 4, 2006




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